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IN THE UNITED STATES DISTRICT COURT
FOR TI~IE EASTERN DISTRICT OF PENNSYLVANIA

 

BONNIE HAAK : Civil Action No.
4534 Marple Street _ '
Philadelphia, PA 19136
Plaintz:}j”,
v. : Complaint and Jury Demand

ERICKSON LIVING d/b/a ANN’S
CHOICE

30000 Ann’s Choice Way
Warminster, PA 18974

701 Maiden Choice Lane
Catonsville, M]) 21228
Dej%ndanr.

 

CIVIL ACTION
Plaintiff, Bormie Haal< (hereinafter “Plaintiff”), by and through her attorney, Koller LaW
LLC, bring this civil matter against Erickson Living d/b/a Ann’s Choice (hereinafter
“Defendant” or the “Company”), for violations of the Americans With Disabilitv Act 1990
(“ADA”), as amended, the Pennsylvania Human Relations Act (“PHRA”) and the F amin
Medical Leave Act (“FMLA”). In support thereof Plaintiff avers as folloWs:
THE PARTIES
1. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.
2. Plaintiff is an adult individual residing at the above captioned address

3. Upon information and belief, Erickson Living d/b/a Ann’s Choice is a retirement

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community With a location at 30000 Ann’s Choice Way, Warminster, PA 18974 and a
headquarters located at 701 l\/Iaiden Choice Lane, Catonsville, MD 21228.

4. At all times relevant hereto, Defendant employed managers, supervisors, agents, and
employees Who Plaintiff alleges had the authority to make decisions concerning
Plaintift’s employment ln making said decisions, these individuals engaged in the
pattern and practice of discriminatory treatment, which forms the basis of PlaintifF s
allegations in the instant Complaint.

5. At all times relevant hereto, Defendant employed managers, supervisors, agents, and
employees Who acted directly or indirectly in the interest of the employer. In so acting,
these individuals engaged in the pattern and practice of discriminatory treatment, Which
forms the basis of Plaintiff’ s allegations in the instant Coinplaint.

JURIS])ICTION AND VENUE

6. Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

7. The Court may properly maintain personal jurisdiction over Defendant because the
Defendant’s contacts With this state and this judicial district are sufficient for the exercise
of jurisdiction and comply With traditional notions of fair play and substantial justice,
thus satisfying the standard set forth by the United States Supreme Court in Intemational
Shoe Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

8. The Court may exercise original subject-matter jurisdiction over the instant action
pursuant to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the
United States and seeks redress for violations of federal laW.

9. The Court may also maintain supplemental jurisdiction over state law claims set forth

herein pursuant to 28 U.S.C. § 1367(a) and Rule 18(a) of the Federal Rules of Civil

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Procedure because they are sufficiently related to one or more claims Within the Court’s
original jurisdiction that they form part of the same case or controversy.
Venue is properly laid in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§
1391(b)(1) and 1391(b)(2) because some of the Plaintiff is domiciled in this judicial
district, the Defendant is located in this judicial district and because all of the acts and/or
omissions giving rise to the claims set forth herein occurred in this judicial district

EXHAUSTION OF ADMINISTRATIVE REMEDIES
Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.
Plaintiff exhausted her administrative remedies under the ADA.
Plaintiff timely filed a Charge of Discrimination (“Charge”) with the Equal Employment
Opportunity Commission (“EEOC”) alleging disability discrimination against Defendant
The Charge was assigned a Charge Number and was dual filed with the Pennsylvania
Human Relations Cominission (“PHRC”).
The EEOC issued Plaintiff a Dismissal and Notice of Rights (“Right`to Sue”) dated
August l, 2017.
Prior to the filing of this action, Plaintiff notified the EEOC of her intent to proceed with
a lawsuit in federal court.
Plaintiff files the instant Complaint within ninety (90) days of her receipt of his Right to
Sue in this matter.
Plaintiff has exhausted her administrative remedies as to the allegations of this
Complaint.

MATERIAL FACTS

Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

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On April 29, 2014, Defendant hired Plaintiff as a Housekeeper.

Plaintiff was Well qualified for her position and performed well.

Plaintiff suffers from the disability asthma.

When she Was first hired, Plaintiff notified Defendant of her disability, but did not
require a reasonable accommodationl

On June 5, 2015, Plaintiff suffered an asthma attack at Defendant and Was taken to
Abington l\/lemorial Hospital via ambulance.

Plaintiff was forced to take a medical leave of absence in the form of Family Medical
Leave Act leave (“FMLA”) that began on June 10, 2015 and ended on August 2, 2015.
On August 3, 2015, Plaintiff returned to work at Defendant at full duty.

On November 16, 2015, Plaintiff began another medical leave of absence and was set to
return to work on December 30, 2015.

On November 16, 2015, Plaintiff underwent an operation to repair a hiatal hernia which

`was exacerbating' the symptoms she experiences from asthma. Tlie operation was

conducted by Dr. Robert Josloff`.

On November 17, 2015, Ann R. ~Heller, CRNP, of Abington l\/lemorial Hospital, signed
Plaintiff’ s Accommodation l\/ledical Questionnaire requesting that Plaintiff be placed on
an additional medical leave of absence to recover from surgery and to be placed on light
duty in the form of limited chemical exposure and in a Well ventilated area when she
returned

On December l, 2015, Danielle lschinger, Human Resources Manager, sent Plaintiff a
letter that Defendant would be unable to accommodate Plaintiff’s light duty request due

to chemical exposure being an essential function of the Housel<eeping position

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l\/ls. lschinger stated further in her letter, Plaintiff would be terminated on December 31,
2015, if she could not return to work without the requested accommodation or find
another position at Defendant

On December 3, 2015, Plaintiff emailed l\/Is. lschinger if she had received an
accommodation request from her doctor regarding a mask and stated “l don’t see how it’s
a problem as long as my doctor approves it.”

On December 4, 2015, Dr. Conrad C. Reed, Plaintiff’s Pulmonologist, wrote Plaintiff a
note that she Would be able to return to Work on .lanuary 6, 2015 as a Housekeeper if she
could be granted the accommodation of wearing a face mask.

Upon information and belief, the face mask cost approximately $1.79 for a pack of six.
On December 29, 2015, l\/ls. Ischinger emailed Plaintiff that she would contact corporate
regarding the accommodation request to wear a mask.

In addition, Plaintiff applied to six (6) other positions that she was Well qualified for,

v including, but not limited to, Human Resource Coordinator and Front Desk pos`ition.

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However, Defendant did not even give Plaintiff a single interview for any of these
positions

On January 4, 2016, l\/ls. lschinger emailed Plaintiff that she needed to draft a letter to
Plaintiff s doctor in order to confirm if Defendant could provide her with the reasonable
accommodation of Wearing a mask.

On January 5, 2016, Dr. Josloff wrote Plaintiff a note that she could return to work
without restrictions on January ll, 2016.

Plaintiff immediately went to Defendant and hand delivered Dr. Josloff’s note to l\/ls.

Ischinger.

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l\/ls. lschinger informed Plaintiff that she would need to check with corporate to see if
Defendant could accommodate Plaintiff

Plaintiff offered to purchase the masks herself but, Ms. lschinger again stated that she
Would have to check with corporate to see if Defendant could accommodate Plaintiff.

Ms. lschinger notified Plaintiff that she Would contact her on Januaray ll, 2016, and let
Plaintiff know if Plaintiff could return to work with the accommodation

However, on January 11, 2016, l\/ls. lschinger did not contact Plaintiff

On January 15, 19 and 20, 2016, Plaintiff emailed l\/ls. lschinger when she would be able
to return to work.

On January 21, 2016, l\/ls. lschinger sent Plaintiff a termination letter.

The reason given for Plaintiff’ s termination was that Defendant would be unable to
accommodate Plaintiff

Defendant relied on Plaintiff’ s doctor’s note from November 17, 2015, instead of
PlaintiffJ s more recent doctors’ notes which stated that she could return to Work.

ln doing so Defendant failed to accommodate Plaintiff

COUNT I - DISABILITY DISCRIMINATION
AMERICANS WITH DISABILITIES ACT OF 1990, AS AMENDED

Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.

Title l of the Americans with Disabilities Act (“ADA”) prohibits discrimination against
qualified individuals “on the basis of disability in regard to job application procedures,
the hiring, advancement, or discharge of employees, employee compensation, job
training, and other terms, conditions, and privileges of employment .” 42 U.S.C. § 12112,

er Seq.

52. Defendant is an “employer” within the meaning of the ADA because it is “engaged in an

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industry affecting commerce [and] has 15 or more employees for each working day in
each of 20 or more calendar Weeks in the current or preceding calendar year, and any
agent of such person . . . .”

Plaintiff is a “qualified individual With a disability” as defined in 42 U.S.C. § 12102.

Gaul v. AT & T Inc. 955 F. Supp. 346, 350 (D.N.J. 1997).

 

Plaintiff is able to perform the essential functions of the position with or without
reasonable accommodations

At all relevant times, Plaintiff has had a physical impairment that substantially limits the
types of activities “that are of central importance to daily life.”

Defendant initially hired Plaintiff but refused to provide her with a reasonable
accommodation once it learned of her disability

The foregoing conduct by Defendant constitutes unlawful discrimination against Plaintiff
because of her disabilities, a failure to employ because of her disability, a failure to
accommodate, and a failure to engage-iri the interactive`process in violation of the ADA.
As a result of Defendant’s unlawful disability discrimination, Plaintiff has suffered
damages as set forth herein.

WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

this Complaint, infra

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COUNT II _ DISABILIT_Y DISCRIMINATION
VIOLATION OF THE PENNSYLVANIA HUl\/IAN RELATIONS ACT

Plaintiff incorporates the preceding paragraphs as if set forth more fully at length herein.
The PHRA prohibits discrimination on the basis of disability or handicapl

Plaintiff is a member of a protected class in that she is an individual with a disability.

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Plaintiff was qualified for the position at issue.

Plaintiff was able to perform the essential functions of the job with or without a
reasonable accommodation

Despite being qualified for the position, Defendant subjected him to adverse employment
action(s), including, but not limited to, denying her request for a reasonable
accommodation, refusing to engage in the interactive process, failing to continue his
employment, and terminating him.

The foregoing conduct by Defendant constitutes unlawful discrimination against Plaintiff
because of her disability.

As a result of Defendant’s unlawful disability discrimination, Plaintiff has suffered
damages as set forth herein.

WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

this Complaint, infra.

COUNT III - DISCRIMINATION/RETAL`IATION

VIOLATION of the FAMILY MEDICAL LEAVE ACT, FMLA 29 USCA §2615(b) et. seq.

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Plaintiff v. Defendant
Plaintiff incorporates all the above paragraphs as if they were set forth at length herein.
Pursuant to 29 U.S.C. § 2611(2)(A) and 29 U.S.C. § 2612(a)(1)(C) Plaintiff was eligible
for Family and l\/ledical Leave Act Leave.
At all times material, Defendant knew, or should have known, of Plaintiff’s need for
Fl\/ILA Leave in order to care for her own serious medical conditions
Plaintiff gave Defendant sufficient information to allow it to understand that she needed
leave for FMLA-qualifying reasons

Defendant made Plaintiff eligible for application for leave under the FMLA.

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Nonetheless, Defendant terminated Plaintiff shortly after she applied and was approved
for FMLA leave.

Defendant’s motivation for terminating Plaintiff Was connected causally to Plaintiff’s
application of FMLA leave.

Defendant has acted in bad faith by retaliating against Plaintiff in violation of the Fl\/ILA.
As a direct and proximate result of Defendant’s discharge of Plaintiff, Plaintiff is and was
deprived of economic and non-economic benefits resulting from Defendant’s willful
and/or non-willful actions including but not limited to: loss of back pay, loss of increase
in salary, loss of benefits preceding Plaintiff" s filing of the lawsuit, cost of providing
care, and double liquidated damages under the FMLA for- violations not made in good
faith.

Plaintiff demands judgment against Defendant for all available equitable relief including,
but not limited to: reinstatement to job position, full restoration of all leave and health
benefits,' to which Plaintiff was entitled, and any additional unpaid leave up to the
maximum permitted by the FMLA including but not limited to doubling the damages
proven inclusive of all wages, salary, employment benefits or other compensation denied
or lost.

Plaintiff further demands favorable judgment against Defendant for all interest on the
monetary benefits calculated at the prevailing rate, an additional amount equal to those
sums, as liquidated damages under §107(a), fees and costs including the allowance of
reasonable attorneys’ fees, expert witness fees and other costs of the action against
Defendant and such other orders and further relief as may be necessary and appropriate to

effectuate the objectives of the FMLA.

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WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

this Complaint, infra

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Bonnie Haak, requests that the Court grant him the following

relief against Defendant:

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Compensatory damages;

Punitive damages;

Liquidated damages ;

Emotional pain and suffering;

Reasonable attomeys’ fees;

Recoverable costs;

Pre and post judgment interest;

An allowance to compensate for negative tax consequences;

A permanent injunction enjoining Defendant, its directors, officers, employees,
agents, successors, heirs and assigns, and all persons in active concert or
participation with it, from engaging in, ratifying, or refusing to correct,
employment practices which discriminate in violation of the ADA and the PHRA
Order Defendant to institute and implement, and for its employees, to attend
and/or otherwise participate in, training programs, policies, practices and
programs which provide equal employment opportunities;

Order Defendant to remove and expunge, or to cause to be removed and
expunged, all negative, discriminatory, and/or defamatory memoranda and
documentation from Plaintiff’s record of employment, including, but not limited,
the pre-textual reasons cited for its adverse actions, disciplines, and terminations
and

Awarding extraordinary, equitable and/or injunctive relief as permitted by law,

equity and the federal statutory provisions sued hereunder, pursuant to Rules 64
and 65 of the Federal Rules of Civil Procedure.

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JURY TRIAL DEMAND

Demand is hereby made for a trial by jury as to all issues

CERTIFICATION
l hereby certify that to the best of my knowledge and belief the above matter in
controversy is not the subject of any other action pending in any court or of a pending arbitration

proceeding, nor at the present time is any other action or arbitration proceeding contemplated

RESPECTFULLY SUBMITTED,
KOLLER LAW, LLC

ll d r_g- n ,) M,/’
Date: November 2, 2017 By: /&’Y'M’¢Q W l Zl/Q§§Hl’“

David l\/I. Koller, Esquire
Counselfor Plaintiff

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